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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   -----------------------------------------------------------------X                         8/19/2020


   MEI YUE GAO,

                                               Plaintiff,                       18-CV-4005 (SN)

                             -against-                                               ORDER

   GRACEFUL II SERVICE, INC.,

                                               Defendant.

   -----------------------------------------------------------------X

    SARAH NETBURN, United States Magistrate Judge:

    As set forth at the status conference held on August 17, 2020, the following schedule shall

govern the further conduct of pretrial proceedings in this case:

    Joint Pretrial Order. The proposed joint pretrial order must be filed by October 2, 2020. The

proposed joint pretrial order, to be filed on ECF, shall include the following:

           i. The full caption of the action.

           ii. The names, law firms, addresses, and telephone and fax numbers of trial counsel.

           iii. A brief statement by plaintiff as to the basis of subject matter jurisdiction, and a brief

statement by each other party as to the presence or absence of subject matter jurisdiction. Such

statements shall include citations to all statutes relied on and relevant facts as to citizenship and

jurisdictional amount.

           iv. A brief summary by each party of the claims and defenses that the party asserts

remain to be tried, including citations to any statutes on which the party relies. Such summaries

shall also identify all claims and defenses previously asserted that are not to be tried. The

summaries should not recite any evidentiary matter.
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            v. A statement as to the number of trial days needed and regarding whether the case is to

be tried with or without a jury.

            vi. Any stipulations or agreed statements of fact or law to which all parties consent.

            vii. A list of all trial witnesses, indicating whether such witnesses will testify in person

or by deposition, and a brief summary of the substance of each witness’s testimony.

            viii. A designation by each party of deposition testimony to be offered in its case in chief

and any counter-designations and objections by any other party.

            ix. A list by each party of exhibits to be offered in its case in chief, indicating exhibits to

which no party objects on grounds of authenticity, and indicating exhibits to which no party objects

on any ground.

    Required Pretrial Filings. Each party shall file and serve with the joint pretrial order:

            i. In all cases, motions addressing any evidentiary issues or other matters which should

be resolved in limine;

            ii. In all cases where a party believes it would be useful to the Court, a pretrial

memorandum of law; and

            iii. In jury cases, requests to charge and proposed voir dire questions;

            iv. In non-jury cases, proposed findings of fact and conclusions of law. The proposed

findings of fact should be detailed and should include citations to the proffered trial testimony and

exhibits, as there may be no opportunity for post-trial submissions.

    Filings in Opposition. Any party may file the following documents by no later than October

16, 2020:

            i. Objections to another party’s requests to charge or proposed voir dire questions.

            ii. Opposition to any motion in limine.



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    Final Pretrial Conference and Trial Schedule. The Court will separately schedule a final

pretrial conference and dates for trial.

SO ORDERED.




DATED:      August 19, 2020
            New York, New York




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